Case 2:04-cv-02875-.]PI\/|-tmp Document 24 Filed 06/22/05 Page 1 of 2 l Page|D 30

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lN THE uNlTED sTATEs olsTRlcT couRT 95 JUN 22 AHH; 5,

FOR THE WESTERN D|STR|CT OF TENNESSEE

 

WESTERN D|VlSlON ROBEHT 91 D; TROL[O
C’._Ei"ii<, U.S. DIST. CT.
v'¢'.D. ‘:J`F 'Fi¢. iv'i::v‘l¥']HfS
AMY C. LEWlS,
Plaintiff,
V. NO. 04-2875-Ml f P

CHRIST|AN BROTHERS UN|VERS|TY,
STAN|SLAUS SOBCZYK, TAU KAPPA
EPS|LON-CBU CHAPTER, iNC. and
ALEX ARTHUR,

Defendants.

 

ORDER OF D|SM|SSAL W|THOUT PREJUD|CE
AS TO DEFENDANT ALEX ARTHUR, ONLY

 

This cause came to be heard on the 21St day of June, 2005, at which time
a teleconference was held by the Court with the participation of all parties that had fried
an Answer. lt appears to the Court that the plaintiff wishes to dismiss this matter
without prejudice as to defendant Aiex Arthur, only.

iT |S, THEREFORE, ORDERED, ADJUDGED AND DECREED that this

cause is dismissed without prejudice as to defendant A|ex A 1 ur, n|y.
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Honorable J on McCalla
US DISTRICT COURT

